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COD Docketing

From:              COD Docketing
Sent:              Friday, November 18, 2022 9:25 AM
To:                'Mesa.court@judicial.state.co.us'
Subject:           22-cv-02224-CNS Order for Remand
Attachments:       22-cv-02224 cert order to remand - Mesa.pdf



Hello everyone,

Attached please find a certified copy of an order remanding the above-mentioned case back to your
court. Your case name is Alyssa Chrystie Montalbano v. James C. Goode.
Please let me know you have any questions.

Clerk’s Office
U.S. District Court
District of Colorado




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